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                 UNITED STATES DISTRICT COURT
               MIDDLtr DISTRICT OF PENNSYLVANIA

I]MTED STATES OF AI{ERICA              No. 3:24-CR'90

           v                            (Judge Mariani)

JAMIE SMICHERKO,                       (ele ctronically file d)
                        Defendant

                          PLEAAGREEIUE}{I

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s). Penalties. and Dismissal of Other Counts

    1. Guiltv plea. The defendant agrees to plead guilty to Counts 1
       and 3 of the Indictment, which charge the defendant with

       violations of Title 21, United States Code, $ 846, Conspiracy to

       Distribute and Possess with Intent to Distribute Controlled

       Substances, and Firearms Trafficking, in violation of Title 18

       United States Code, $0SS(d(1). ttt" maximum penalty for

        Count I lg imprisonment for a period of.20 years, a fine of
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      $1,000,000, a maximum term of supervised release of life, which

      shall be served at the conclusion of, and in addition to, any term

      of imprisonment, as well as the costs of prosecution,

     imprisonrnent, probation, or supervised release ordered, denial

      of certain federal benefits, and an assessment in the amount of

      $100. The maximum penalty for Count 3 is imprisonment for a

     period of 15 years, a fine of $250,000, a maxim.um term of

      supervised release of three years, which shall be served at the

     conclusion of, and in ad.dition to, any term of imprisonment, as

     well as the costs of prosecution, imprisonment, probation, or

      supervised release ordered, denial of certain federal benefits,

      and an assessment in the amount of $100. At the time the

      guilty plea is entered, the d"efendant shall ad.mit to the Court

     that the d.efendant is, in fact, guilty of the offenses charged in

      Counts 1 and 3 of the Indictment. After sentencing, the United

      States will move for dismissal of any remaining counts of the

     Indictment. The defendant agrees, however, that the United

      States fl&y, at its sole election, reinstate any dismissed charges,
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     or seek additional charges, in the event that any guilty plea

     entered or sentence imposed pursuant to this Agreement is

     subsequently vacated, set aside, or invalidated by any court.

     The defendant further agrees to waive any defenses to

     reinstatement of any charges, or to the filing of additional

     charges, based upon laches, the assertion of speedy trial rights,

     any applicable statute of limitations, or any other ground. The

     calculation of time under the Speedy Trial Act for when trial

     must commence is tolled as of the date of the defendant's

     signing of this Agreement, until either (a) the defendant pleads

     guiltyi or (b) a new date is set by the Court for commencement

     of trial.

 2. Ter.m.of Supervised Release. The defendant understands that
     the Court must impose at least a three-year term of supervised

     release in addition to any term of imprisonment, fine or

     assessrnent involving this violation of the Controlled Substances

     Act. The d.efendant also understands that the Court may impose

     a term of supervised release following any sentence of
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      imprisonment exceeding one yeay, or when required by statute.

      The Court may require a term of supervised release in any other

      case. In addition, the defendant understands that as a

      condition of any term of supervised release or probation, the

      Court must order that the defendant cooperate in the collection

      of a DNA sample if the collection of a sample is so authorized by

      law.

  3. Maximum. Sentence * Multiple Counts. The defendant
     understands that the total, maximum possible sentence for all

     charges is the combination of penalties described abovei that is,

      35 years in prison and fines totaling $1,250,000, a lifetime of

     supervised release, the costs ofprosecution, denial ofcertain

     federal benefits and an assessment totaling $200.

  4. No Further PrgFgpUtion. Excent Tax Charses. The United
     States Attorney's Office for the Middle District of Pennsylvania

      agrees that it will not bring any other criminal charges against

     the d.efendant directly arising out of the defendant's

     involvement in the offenses described above. However, nothing
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       in this Agreement will limit prosecution for criminal tax

       charges, if any, arising out of those offenses.

B. Fines and Asseesments
   5. Fi4p. The defendant understands that the Court may impose a
      fine pursuant to the Sentencing Reform Act of 1984. The willful

      failure to pay any fine imposed by the Court, in full, may be

      considered a breach of this Plea Agreement. Further, the

      defendant acknowledges that willful failure to pay the fine may

      subject the defendant to additional criminal violations and civil

      penalties pursuant to Title 18, United States Code, $ 3611, et

      seq

   6. Alternative Fine. The defendant understands that under the
      alternative fine section of Tit1e 1"8, United States Code, S 3571,

      the maximum fine quoted aboye may be increased if the Court

      finds that any person derived pecuniary gain or sufflered

      pecuniary loss from the offense and that the maximum fine to

      be imposed", if the Court elects to proceed in this fashion, could



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        be twice the amount of the gross gain or twice the amount of the

        gross loss resulting from the offense.

  7   . Inmatg n'inancial Responsibilitv Program. If the Court orders a
        fine or restitution as part of the defendant's sentence, and the

        sentence includ.es a term of imprisonment, the defendant agrees

        to voluntarily enter the United States Bureau of Prisons'

        administered program known as the Inmate Financial

        Responsibility Program) through which the Bureau of Prisons

        will collect up to 50% of the defendant's prison salary, and up to

        50% ofthe balance of the defendant's inmate account, and apply

        that amount on the defendant's behalf to the payment of the

        outstanding fine and restitution orders. r
                                                   ft$ ,rl .\d
  8     Special Assessment. The defendant, unde/starids that the Court
                                            $euq
        will impose a special assessment of t06, pursuant to the

        provisions of Title 18, United States Code, $ 3013. No later

        than the date of sentencing, the defend.ant or defendant's

        counsel shall mail a check in payment of the special assessment

        directly to the Clerk, United States District Court, Middle
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     District of Pennsylvania. If the defendant intentionally fails to

     make this payment, that failure may be treated as a breach of

     this Plea Agreement and may result in further prosecution, the

     filing of additional criminal charges, or a contempt citation.

 9. Collection.of_"Financial Obligations. In order to facilitate the
     collection of financial obligations imposed in connection with

     this case, the defendant consents and agrees:

     a. to fully disclose all assets in which the defendant has an
          interest or over which the defendant has control, directly or

          indirectly, including those held by a spouse, nominee, or

          other third partyi

     b. to submit to interviews by the Government regarding the
          defendant's financial statusi

     c.   to submit a complete, accurate, and. truthful financial

          statement, on the form provided by the Government, to the

          United. States Attorney's Office no later than 14 days

          following entry of the guilty pleai



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       d. whether represented by counsel or not, to consent to contact
           by and communication with the Government, and to waive

           any prohibition against communication with a represented

           party by the Government regarding the defendant's

           financial statusi

       e. to authorize t]ne Government to obtain the defendant's
           credit reports in order to evaluate the defendant's ability to

           satisfy any financial obligations imposed by the Courti and

       f. to submit any financial information requested by the
           Probation Office as directed, and to the sharing of financial

           information betrveen the Government and the Probation

           Office

C. Sentencing Guidelines Calculation
   1"0. Determination qf Sentencing Guidelines. The defendant and

       counsel for both parties agree that the United States Sentencing

       Commission Guidelines, which took effect on Novemb et 7,7987,

       and its amendments (the "sentencing Guidelines"), will apply to

       the offense or offenses to which the defendant is pleading guilty.
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     The defendant understands that the Sentencing Guidelines are

     advisory and not binding on the Court. The defendant further

     agrees that any legal and factual issues relating to the

     application of the Sentencing Guidelines to the defendant's

     conduct, including facts to support any specific offense

     characteristic or other enhancement or adjustment and the

     appropriate sentence within the statutory maximums provided

     for by law, will be determined by the Court after briefing, a pre-

     sentence hearing, or a sentencing hearing.

 11. Acceptance of Responsibility- ?wo/Three Level$. If the

     defendant can adequately deuronstrate recognition and

     affirmative acceptance of responsibility to the Government as

     required by the Sentencing Guidelines, the Government wiII

     recommend that the defendant receive a two- or three-leve1

     reduction in the defendant's offense level for acceptance of

     responsibility. The third level, if applicable, shall be within the

     discretion of the Government under U.S.S.G. $ 381.1. The



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      failure of the Court to find that the defendant is entitled to a

      reduction shall not be a basis to void this Agreement.

   12. Specific Sentencine Guidelines Recommendations. With respect

      to the application of the Sentencing Guid.elines to the

      defendant's conduct, the parties agree to recommend as follows:

      The Defendant is respousible, through her offense and relevaut

      conduct, for the distribution or the possession with intent to

      distribute between 40KG but less than 60KG of Converted Dnrg

      Weight. Each party reserves the right to make whatever

      remaining arguments it deems appropriate with regard to

      application of the United States Sentencing Commission

      Guidelines to the defendant's conduct. The defendant

      understands that any recommendations are not binding upon

      either the Court or the United States Probation Office, which

      may make different findings as to the application of the

      Sentencing Guidelines to the defendant's conduct. The

      defendant further understands that the United States will

      provide the Court and the United States Probation Office all
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      information in its possession that it deems relevant to the

      application of the Sentencing Guidelines to the defendant's

      conduct.

D. Sentencing Recom:gendation
   13. Aopropriate Sentence Recommendation. At the time of

      sentencing, the United States may make a recommendation

      that it considers appropriate based upon the nature and

      circumstances of the case and the defendant's participation in

      the offense, and specifically reserves the right to recommend. a

      sentence up to and including the maximum sentence of

      imprisonment and fine allowable, together with the cost of

      prosecution.

   14. Special Qorulitions of ProbationlSupervised Release. If

      probation or a term of supervised release is ordered, the United

      States may recommend that the Court impose one or more

      special conditions, including but not limited to the following:

      a   The defendant be prohibited from possessing a firearm or

          other dangerous weapon.
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      b. The defendant make restitution, if applicable, the payment
           of which shall be in accordance with a schedule to be

           determined by the Court.

      c-   The defendant pay any fine imposed in accordance with a

           schedule to be determined by the Court.

      d. The defendant be prohibited foom incurring new credit
           charges or opening additional lines of credit without

           approval of the Probatiou Office unless the defendant is in

           compliance with the payment schedule.

      e    The defendant be d.irected to provide the Probation Office

           and the United States Attorney access to any requested

           financial information

      f, The defendant be confined in a community treatment
           center, halfway house, or similar facility.

      g. The defendant be placed under home confinement.
      h. The defendant be ordered to perform community service.



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       I    The defendant be restricted from working in certain types of

            occupations or with certain individuals if the Government

            deems such restrictions to be appropriate.

       j.   The defendant be directed to attend substance abuse

            counseling, which may include testing to determine whether

            the defendant is using drugs or alcohol.

       k. The defendant be directed to attend psychiatric or
            psychological counseling and treatment in a program

            approved by the Probation Officer

       l. The defendant be denied certain federal benefits including
            contracts, grants, Ioans, fellowships, and licenses.

       m. The defendant be directed to pay any state or federal taxes
            and file any and aII state and federal tax returns as

            required. by law.

E. Forfeiture of Assets
   15. Forfeiture. The present Indictment seeks forfeiture of the

       defendant's interests in certain assets. In the event the United

       States seeks to forfeit those assets through a civil proceeding,
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      the defendant understands that dismissal of the criminal

      forfeiture allegation in no way limits the United States from

      proceeding civilly against any assets owned or held. by the

      defendant or any other party. Defendant agrees to settle any

      civil and crirninal forfeiture matters arising out of the offense of

      convicfion and its relevant conduct. The defendant agrees that

      the defendant's property constitutes proceeds o{ is derived from

      proceeds traceable to, or was used in any manner or part to

      commit or facilitate the commission of the offense of conviction

      and its relevant cond.uct. Defendant further agrees to the

      following:

      a.   Forfeiture of all properties, real and personal listed in the

           Forfeiture Allegation of the Indictmenti

      b. Immediate entry of the preliminary order of forfeiture or the
           filing of a civil complaint by the United States, pursuant to

           Title 18, United States Code, S 981;

      c. Waiver of the right to personal service of al] process and
           naming of Elliot A. Smith, Esq., Office of the Federal Public
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          Defender,z}t Lackawanna Ave. Suite 317, Scranton, PA

          18503, as agent for service of all processi

      d. Waiver of the right to appear and contest any portion of the
          forfeiture proceedings, including but not limited to, any

          motion or proceeding for substitute assetsi

     e    The filing and entry of a consent decree of forfeiturei

     f. Disclosure, no later than upon signing this Agreement, of all
          persons and entities holding an equitable or legal interest in

          the propert5r, real or personal, subject to forfeiture pursuant

          to this Agreementi

     g. Concurrence in any motion necessary to be filed and signing
          any documents necessary to effectuate forfeiturei

     h. Payment of costs associated with the seizure, storage, and
          maintenance of any asset being returned to the defendant

          as a result of this Agreementi

     1.   In the event any assets are being returned to the defendant,

          such return does not amount to having "substantially

          prevailed' in the pursuit of any claim, and to make no claim
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              against the United States or any of its agencies or

              employees, including claims for attorney's fees and costs of

              litigationi

         j.   Waiver of any double jeopardy challenges the defendant

              may have to any administrative or civil forfeiture actions,

              pending or completed, arising out of the course of conduct

              forming the basis for the forfeituresl and

         k. Waiver of all constitutional, legal, and equitable claims
              arising out of and defenses to the forfeiture of this property

              in any proceeding, incluiling any claim of innocent

              ownership and any claim or defense under the Eighth

              Amendment, including any claim of excessive fine.

   L6.                      ts. This Agreement is entered by the United
         States on the basis of the express representation that the

         defendant is making fulI and complete disclosure of all assets

         over which the defendant exercises control. The defendant

         agrees to submit to a polygraph examination by an examiner

         selected by the Government to verifi. the defendant's complete
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        and candid compliance with this provision of the Agreement

        The defendant also understands that a failure to make a full

        disclosure or lack of candor revealed by a polygraph

        examination would constitute a breach of this Agreement,

        subjecting the defendant to the sanctions set forth in this

        Agreement. Conditioned. upon such full disclosure, the United

        States agrees not to seek the seizure/forfeiture of any of the

        defendant's assets other than those set forth in this Agreement.

  17.               Forfeiture. As the result of the forfeitures set forth

        above, the United States agrees not to seek forfeiture of any

        other asset known to the United States by defendant's

        disclosure to belong to the defendant or the defendant's family.

        This Agreement does not prevent the IRS from the collection of

        taxes or the seizure ofassets to satisSr those taxes.

  18. Forfeiture of Interests/Passage of Clear Tltlg/D_estruction Order.

        By this Agreement, the defendant agrees to forfeit all interests

        in the assets set forth above and to take whatever steps are

        necessary to pass clear title of those assets to the United States.
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      These steps include but are not limited to surrender of titlei

      signing of a consent decreei stipulating to facts regarding the

      transfer and basis for the forfeituresi and concurrence in any

      motion and signing any document necessary to effectuate such

      transfers.

  19, Destruction Order/IVaivers. The defendant further agrees,

      should the United States deem it appropriate, to the destruction

      of the items seized during the course of the investigation. The

      defendant agrees that the items may be destroyed by the

      investigative agency with or without a court order authori.zing

      the destruction of the items seized. If the United States

      determines that a destruction order should be obtained, the

      defendant and defenilant's counsel hereby concur in a motion for

      such an order. The defendant further agrees to waive all

      interest in the assets in any administrative or judicial forfeiture

      proceeding, whether criminal or civil, state, or federal. The

      defendant consents and waives all rights to compliance by the

      United States with any applicable deadlines under 18 U.S.C. $
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      983(a). Any related administrative claim filed by the defendant

      is hereby withdrawn. The defendant agrees to consent to the

      entry of orders of forfeiture for such property and waives the

      requirements of Federal Rules of Criminal Procedure 32.2 and

      a3(d regarding notice of the forfeiture in the charging

      instrument, announcement of the forfeiture at sentencing, and

      incorporation of forfeiture in the judgment.

  20. Forfeiture of Firearms Possessed in Conuection with the

      Offense. The United States and the defendant hereby agree

      that the black Taurus 1911 .45 caliber pistol, Serial Number

      ADH633998, the brown Glock 19X 9mm pistol, Serial Number

      BRRA692, t}re black Colt Government Model .22 handgun,

      Serial Number LK020676, which are firearms as defined in 18

      U.S.C., $ 921, seized during the investigation and currently in

      the custody and control of the Bureau of Alcohol, Tobacco,

      Firearms, and Explosives ('ATP'), were properly seized and

      were possessed, involved in or used in a violation of Title 21,

      U.S.C. 5846, to which the defendant will plead guilty. The
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       defendant agrees that the firearms are subject to forfeiture to

      the United States pursuant to 18 U.S.C. S 924. The defendant

       hereby relinquishes to the United States any claim, title and

       interest the defendant has in said firearms. The defendant

       agyees to withdraw any claim made in any civil, administrative,

      or judicial forfeiture brought against said firearms, and further

      agrees not to oppose any civil, administrative, or judicial

      forfeiture of said firearms.

F'. InformationPmvidedto             and Probation Office

   21. Backsround Information for Probation Office. The defendant

      understands that the United States will provide to the United

      States Probation Office a1l information in its possession that the

      United States deems relevant regarding the defendant's

      background, character, cooperation, if any, and involvement in

      this or other offenses.

   22. Obie ctions to Pre-Sentence Rep ort. The defendant understands

      that pursuant to the United States District Court for the Middle

      District of Pennsylvania's "Policy for Guideline Sentencing,"
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      both the United States and defendant must communicate to the

      Probation Officer within 14 days after disclosure of the pre-

      sentence report any objections they may have as to material

      information, sentencing classifications, applicable S ente ncing

      Guidelines ranges, and policy statements contained in or

     omitted from the report. The defendant agrees to meet with the

     United States at least five days prior to sentencing in a good

     faith attempt to resolve any substantive differences. If any

     issues remain unresolved, they shall be comrnunicated to the

     Probation Officer for inclusion in an addendum to the pre-

     sentence report. The defendant agrees that unresolved

     substantive objections will be d.ecided by the Court afber

     briefing, a pre-sentence hearing, or at the sentencing hearing,

     where the standard or proof will be a preponderance of the

     evidence, and the Federal Rules of Evidence, other than with

     respect to privileges, shall not apply under Fed. R. Evid.

     1101(0(3), and the Court may consider any reliable evidence,

     including hearsay. Objections by the defendant to the pre-
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      sentence report or the Court's rulings, will not be grounds for

      withdrawal of a plea of guilty.

  23. Relevant Sentencine Information. At sentencing, the United

      States will be permitted to bring to the Court's attention, and

      the Court will be permitted to consider, all relevant information

      about the defendant's background, character and conduct,

      including the conduct that is the subject of the charges that the

      United States has agreed to dismiss, and the nature and extent

      of the defendant's cooperation, if ,tty. The United States will be

      entitled to bring to the Court's attention and the Court will be

      entitled to consider any failure by the defendant to fulfill any

      obligation under this Agreement.

  24. Non-Limitation on Government's Response. Nothing in this

      Agreement shall restrict or limit the nature or content of the

      United States'motions or responses to any motions filed on

      behalf of the defendant. Nor does this Agreement in any way

      restrict the Government in responding to any request by the

      Court for briefing, argument or presentation of evidence
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       regarding the application of Sentencing Guidelines to the

       defendant's conduct, including but not limited to, requests for

       information concerning possible sentencing departure s

G. Court Not Bound bv Plea Aereement
   25. Court Not Bound bv Terms. The defendant understands that

      the Court is not a party to and is not bound by this Agreement,

      or by any recommendations made by the parties. Thus, the

       Court is free to impose upon the defendant any sentence up to

      and including the maximum sentence of imprisonment for a

      period of 35 years, a fine of $1,250,000, a maximum term of

      supervised release of up life, which shall be served at the

      conclusion of and in addition to any term of imprisonment, the

      costs of prosecution, denial of certain federal benefits, and

      assessments totaling $200.

   26. No Withdrawal of Plea Based on Sentence or Recommendations.

      If the Court imposes a sentence with which the defendant is

      dissatisfied, the defendant will not be permitted to withdraw

      any guilty plea for that reason alone, nor will the defendant be
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       permitted to withdraw auy guilty plea should the Court decline

       to follow any recommendations by any of the parties to this

       Agreement.

H. Breach of PIea Agreement bv Defendant
   27. Bteach of Asreement. In the event the United States believes

       the defendant has failed to fulfill any obligation under this

      Agreement, then the United States shall, in its discretion, have

       the option ofpetitioning the Court to be relieved ofits

       obligations under this Agreement. Whethet the defendant has

       completely fulfilled all of the obligations under this Agreement

       shall be determined by the Court in an appropriate proceeding,

       during which any disclosures and documents provided by the

       defendant shall be admissible, and during which the United

       States shall be required to establish any breach by a

      preponderance of the evidence. In order to establish any breach

      by the defendant, the United States is entitled to rely on

       statements and evidence given by the defendant during the

       cooperation phase of this Agreement, if any.
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  28. Remedies for Breach. The defendant and the United States

      agree that in the event the Court concludes that the defendant

      has breached the Agreement:

      a.   The defendant will not be permitted to withdraw any guilty

           plea tendered. under this Agreement and agrees not to

           petition for withdrawal of any guilty pleai

      b. The United States will be free to make any
           recommendations to the Court regarding sentencing in this

           CASE,


      c.   Any evidence or statements made by the defendant during

           the cooperation phase of this Agreement, if any, wilI be

           admissible at any trials or sentencingsi

      d. The United States will be free to bring any other charges it
           has against the defendant, including any charges originally

           brought against the defendant or which may have been

           under investigation at the time of the plea. The defendant

           waives and hereby agrees not to raise any defense to the

           reinstatement of these charges based upon collateral
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          estoppel, Double Jeopardy, statute of limitations, assertion

          ofSpeedy Trial rights, or other similar grounds.

  29. Violation of Law While Plea or Sente nce Pe ndinE . The

      defendant understands that it is a condition of this Agreement

      that the defendant refrain from any further violations of state,

      local, or federal law while awaiting plea and sentencing. The

      defendant acknowledges and agrees that if the Government

      receives information that the defendant has committed new

      crimes while awaiting plea or sentencing in this case, the

      Government may petition the Court and, if the Court finds by a

      preponderance of the evidence that the defendant has

      committed any other criminal offense while awaiting plea or

      sentencing, the Government shall be free at its sole election to

      either: (d withdraw from this Agreementi or (b) make any

      sentencing recommendations to the Court that it deems

      appropriate. The defendant further understands and agrees

      that, if the Court finds that the defendant has committed any

      other offense while awaitiag plea or sentencing, the defendant
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       will not be permitted to withdraw any guilty pleas tendered
       pursuant to this Agreement, and the government wi]Ibe

       permitted to bring any additional charges that it may have

       against the defendant.

L Deportation
   30. Deportation/RemovAl foom the United States. The defendant

       understands that, if defendant is not a United States citizen,

       deportation/removal from the United States is a consequence of

       this plea. The defend.ant further agrees that this matter has

       been discussed with counsel who has explained the immigration

       consequences of this plea. The defendant still desires to enter

       into this plea after having been so advised.

J. Other Provisjopg
   31. Agreement Not BiBding on Other Agencie_s. Nothing in this

       Agreement shall bind any other United States Attorney's Office,

       state prosecutor's office, or federal, state, or local law

       enforcement agency.



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  32. No Civil Claims or Suits. The defendant agrees not to pursue or

      initiate any civil claims or suits against the United States of

      America, its agencies or employees, whether or not presently

      known to the defendant, arising out of the investigation,

      prosecution or cooperation, if any, covered by this Agreement,

      including but not limited to any claims for attorney's fees and

      other litigation expenses arising out of the investigation and

      prosecution of this matter. By the defendant's guilty plea in

      this matter the defendant further acknowledges that the

      Government's position in this litigation was taken in good faith,

      had a substantial basis in law and fact and was not vexatious.

  33. Plea Asreement          Ends of Justice. The United States is

      entering this Agreement with the defendant because this

      disposition of the matter fairly and adequately addresses the

      gravity of the offenses from which the charges are drawn, as

      well as the defendant's role in such offenses, thereby serving the

      ends of justice.



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  34. Merger of AII Prior NegpLiations. This document states the

      complete and only Agreement between the United States

      Attorney for the Middle District of Pennsylvania and the

      defendant in this case, and is binding only on the parties to this

      Agreement and supersedes all prior understandings or plea

      offers, whether wri.tten or ora-l. This agreement cannot be

      modified other than in writing that is signed by all parties or on

      the record in court. No other promises or inducements have

      been or will be made to the defendant in connection with this

      case, nor have any predictions or threats been made in

      connection with this plea. Pursuant to RuIe 11 of the Federal

      Rules of Criminal Procedure, the defendant certifies that the

      defendant's plea is knowing and voluntary and is not the result

      of force or threats or promises apart from those promises set

      forth in this Agreement.

  35. Defendant is Satisfied with Assistance of Counsel. The

      Defendant agrees that the defendant has discussed this case

      and this Agreement in detail with the defendant's attorney, who
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      has advised the defendant of the defendant's Constitutional and

      other trial and appellate rights, the nature of the charges, the

      elements of the offenses the United. States would have to prove

      at trial, the evidence the United States would present at such

      trial, possible defenses, the advisory Sentencing Guidelines and

      other aspects of sentencing, potential losses of civil rights and

      privileges, and other potential consequences of plead.ing guilty

      in this case. The defendant agrees that the defendant is

      satisfied with the legal services and advice provided to the

      defendant by the defendant's attorney.

  36. Deadling for Acceptance of Plea Agreement. ?he original of this

      Agreement must be signed by the defendant and defense

      counsel and received by the United States Attorney's Office on

      or before 5:00 p.m., December 2'1,2024, otherwise the offer ffi&y,

      in the sole discretion of the Government, be deemed withdrawn.

  37. Required Signatures. None of the terms of this Agreement shall

      be binding on the Office of the United States Attorney for the

      Middle District of Pennsylvania until signed by the defendant
                                  30
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            and defense counsel and then signed by the united. states

           Attorney or his designee.

                                    ACKNOWLEDeMEI\mE

     I have read- this agreement and carefully reviewed every part of it
with my attorney. I fully understand it and I voluntarily agree to it.


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ohtel
              I


                                                        SMICHERKO
                                                 Defendant

        I am the d-efendant's counsel. I have carefully reviewed every part
of this agreement with the defend,ant. To my knowledge, my client's
decision to enter into this agreement is an informed and voluntary one.

ttln lwt
dxd                                              ELLIOT A. SMITH, ESQ.
                                                 Counsel for Defendant




                                                 GtrRARD M. KARAM
                                                 United States Attorney


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Da#                                                           BUCHANAN
                                                           t United States Attorney

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YSRSIONDATE: March 8, 2021



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